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                                                                                           FILED
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS                         2020SEP-2       P14   14:52
                                     AUSTIN DIVISION

EMILY GILBY; TEXAS DEMOCRATIC                       §
PARTY; DSCC; DCCC; AND TERRELL                      §
BLODGETT,                                           §
                PLAINTIFFS,                         §
                                                    §
V.                                                  §    CAUSE NO. 1:19-CV-1063-LY
                                                    §
RUTH HUGHS, IN HER OFFICIAL                         §
CAPACITY AS THE TEXAS SECRETARY                     §
OF STATE,                                           §
                DEFENDANT.                          §


ORDER ON PLAINTIFFS' REQUESTS FOR "ORDER CONFIRMING THIS COURT'S
  CONTINUING JURISDICTION" AND FOR "CLARIFICATION REGARDING
                   DEADLINES AND SCHEDULING"

        On August 11, 2020, this court rendered an order that, for the most part, denied two motions

by Defendant Ruth Hughs, the Texas Secretary of State, to dismiss Plaintiffs' suit against her.

(Doc. #107). Hughs, acting through the Texas Attorney General, promptly appealed that order.

(Doc. #108). The attorney general, however, goes farther then simply giving notice of appeal; he

schools the court on the jurisdictional meaning of his notice. This lecture by the attorney general is

unnecessary, unhelpful, uninvited, and unwanted. The court is aware of the law and will not be

baited by the attorney general. Plaintiffs, on the other hand, rise to the bait and assert that the appeal

is frivolous. They urge to court to so declare the appeal and proceed forward (Doc. #109).

        The court agrees with Plaintiffs that the issues in this case are time sensitive, as the case

involves voting procedures to be employed in Texas for the November 3, 2020, general election.

The court declines, however, to declare the appeal frivolous. The role of the secretary of state in

enforcing Texas's election laws, while seemingly obvious, "[T]he Texas Secretary of State is the

chief election officer of the state and is instructed by statute to obtain and maintain uniformity in the
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application, operation, and interpretation of [the election] code and of the election laws outside [the

election] code," OCA-Greater Houston       v.   Texas, 867 F.3d 604, 613-14 (5th Cir. 2017) (internal

quotations and citations omitted), is not as clear as it seems. See Texas Democratic Party v. Abbott,

961 F.3d 399-400 (5th Cir. 2020) (discussing Fifth Circuit cases on authority of secretary of state).

"Our decisions are not a model of clarity on what constitutes a sufficient connection to enforcement"

by the secretary of state to particular provisions of the election code. Id. at 400 n.2 1 (internal

quotations and citations omitted).

        This court concludes that the circuit court is in the best position to determine its

jurisdictionand, hence, the jurisdiction of this courtat this stage of the proceedings. Plaintiffs are

free to raise the frivolity of the appeal with the circuit and move for an expedited determination of

that issue and those raised by Hughs in that court.

        All deadlines and settings in this case are VACATED.

        SIGNED this              day of September, 2020.




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